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                    Exhibit A
4/26/22, 1:44 PM       Case 3:21-md-02981-JD
                                      How much areDocument      216-1
                                                   payment processor        Filed
                                                                     fees for digital 04/28/22      Page
                                                                                      sales? – Bandcamp Help2Center
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                             Hey there! We’re experiencing a high volume of emails at this time and
                             our response times are slower than usual. In the meantime, we’ve put
                             together a list of common questions to help. We appreciate your patience.




       Search the Help Center                                                                                                🔍



    Bandcamp Help Center > Artists & Labels > Getting paid



      Articles in this section                                                                                                ▾



    How much are payment processor fees for digital
    sales?

    In addition to the revenue share that Bandcamp collects, payment processor fees apply to all
    transactions processed on your account. Here's how it works for digital sales:

    For transactions greater than or equal to $8.07, the transaction fee is 1.9% + $0.30 when your fan
    uses PayPal, 2.9% + $0.30 when paying with a gift card, and 2.2% + $0.30 when your fan uses a
    credit card. For smaller transactions (under $8.07) we minimize the fee by automatically switching
    to the payment processor’s alternate rate of 5% + $0.05. When we send you a bulk payout,
    PayPal’s fee is 1% of the total payout amount. Fees may vary depending on geographic location or
    payment method.




                                                          Was this article helpful?
                                                                                                                  Need Help?
                                                      Yes, thanks!                 Not really

https://get.bandcamp.help/hc/en-us/articles/360007802394-How-much-are-payment-processor-fees-for-digital-sales-
